Fill in this information to identify your case:

United States Bankruptcy Court for the:

WESTERN DISTRICT OF NEW YORK

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                IFS Filing Systems LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                                                                                  c/o Lippes Mathias Wexler Friedman LLP
                                  1130 Military Road                                              50 Fountain Plaza, Suite 1700
                                  Buffalo, NY 14217                                               Buffalo, NY 14202
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Erie                                                            Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  11225 West Heather Avenue Milwaukee, WI 53224
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       http://ifsfiling.com/printedproducts


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    IFS Filing Systems LLC                                                                       Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 3222

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:
                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                      Debtor                                                                     Relationship
                                                 District                                 When                              Case number, if known




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Debtor   IFS Filing Systems LLC                                                                    Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




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Official Form 201                Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                              page 3
                                    Description: Main Document , Page 3 of 21
Debtor    IFS Filing Systems LLC                                                                   Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      March 7, 2019
                                                  MM / DD / YYYY


                             X   /s/ Jeffrey P. Markello, Esq.                                            Jeffrey P. Markello, Esq.
                                 Signature of authorized representative of debtor                         Printed name

                                         Administrator of the Estate of Aida
                                 Title   Corey - IFS Member




18. Signature of attorney    X   /s/ John A. Mueller                                                       Date March 7, 2019
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 John A. Mueller
                                 Printed name

                                 Lippes Mathias Wexler Friedman LLP
                                 Firm name

                                 50 Fountain Plaza
                                 Suite 1700
                                 Buffalo, NY 14202
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     716-853-5100                  Email address      jmueller@lippes.com

                                 4700050 NY
                                 Bar number and State




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                Description: Main Document , Page 6 of 21
 Fill in this information to identify the case:

 Debtor name         IFS Filing Systems LLC

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          March 7, 2019                           X /s/ Jeffrey P. Markello, Esq.
                                                                       Signature of individual signing on behalf of debtor

                                                                       Jeffrey P. Markello, Esq.
                                                                       Printed name

                                                                       Administrator of the Estate of Aida Corey - IFS Member
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:
 Debtor name IFS Filing Systems LLC
 United States Bankruptcy Court for the: WESTERN DISTRICT OF NEW                                                                                      Check if this is an
                                                YORK
 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 11225 Heather, LLC                                              Court Judgment                                                                                       $1,517,848.65
 9450 West Bryn
 Mawr
 Suite 750
 Des Plaines, IL
 60018
 Braden Sutphin Ink                                              Trade debt                                                                                               $17,831.88
 Company
 PO Box 932504
 Cleveland, OH 44193
 Coyote Logistics                                                Trade Debt             Disputed                                                                        $100,338.05
 LLC
 2545 W Diversey
 Ave
 Suite 3
 Chicago, IL 60647
 Engineered                                                      Trade debt                                                                                                 $8,335.35
 Laminates &
 Coatings
 404 North Howard
 St.
 Akron, OH 44304
 Green Bay                                                       Trade debt                                                                                               $11,654.11
 Packaging Inc.
 Bin #53139
 Milwaukee, WI
 53288
 International Paper                                             Trade debt                                                                                               $78,634.56
 Inc.
 PO Box 644095
 Pittsburgh, PA
 15264-4095
 Jalema, Inc.                                                    Trade debt                                                                                               $13,808.63
 2727 Paces Ferry
 Rd., Suite 750
 Atlanta, GA 30339



Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    IFS Filing Systems LLC                                                                             Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 McLaughlin Paper                                                Trade debt                                                                                                 $9,324.00
 Company Inc.
 PO Box 147
 West Springfield,
 MA 01090-0147
 Montenegro Paper                                                Trade debt                                                                                               $66,834.91
 25 E. Main St., Unit
 205
 Roselle, IL 60172
 Paper Box &                                                     Trade Debt             Disputed                                                                          $18,175.52
 Specialty Co.
 1505 Sibley Court
 Sheboygan, WI
 53081
 Permclip Products                                               Trade debt             Unliquidated                                                                    $382,021.61
 Corporation                                                                            Disputed
 1130 Military Road                                                                     Subject to
 Buffalo, NY                                                                            Setoff
 14217-1844
 Sandusky                                                        Trade debt                                                                                               $10,943.55
 Packaging
 Corporation
 2016 George Street
 Sandusky, OH 44870
 Seek                                                            Trade Debt                                                                                               $71,392.15
 Careers/Staffing Inc.
 1160 Opportunity
 Drive
 Grafton, WI 53024
 Sentry Insurance                                                Insurance                                                                                                  $8,403.33
 PO Box 8031
 Stevens Point, WI
 54481
 U.S. Department of                                                                     Unliquidated                                                                      $49,151.00
 Labor (OSHA)                                                                           Disputed
 310 W. Wisconsin
 Avenue
 Room 1180
 Milwaukee, WI
 53203
 U.S. Government                                                 Trade debt             Disputed                                                                        $122,855.00
 Publishing Office
 732 North Capitol
 Street NW
 Washington, DC
 20401
 United Parcel                                                   Trade debt                                                                                             $101,786.69
 Service
 Lockbox 577
 Carol Stream, IL
 60132-0577



Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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 Debtor    IFS Filing Systems LLC                                                                             Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 UPS Freight                                                     Trade debt                                                                                               $12,710.03
 28013 Network
 Palce
 Chicago, IL
 60673-1280
 We Energies                                                                                                                                                                $8,186.15
 PO Box 90001
 Milwaukee, WI
 53290-0001
 Western States                                                  Trade debt                                                                                               $31,356.08
 Envelope
 PO Box 205216
 Dallas, TX
 75320-5216




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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                                                               United States Bankruptcy Court
                                                                     Western District of New York
 In re      IFS Filing Systems LLC                                                                                    Case No.
                                                                                    Debtor(s)                         Chapter        11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder
 Estate of Aida Corey                                                N/A              N/A                                        Sole Member
 c/o Plan Administrator, Jeffrey Markello
 Sakowski & Markello, LLP
 6861 Seneca Street
 Elma, NY 14059-0399


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

         I, the Administrator of the Estate of Aida Corey - IFS Member of the corporation named as the debtor in this case,
declare under penalty of perjury that I have read the foregoing List of Equity Security Holders and that it is true and
correct to the best of my information and belief.



 Date March 7, 2019                                                          Signature /s/ Jeffrey P. Markello, Esq.
                                                                                            Jeffrey P. Markello, Esq.

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                                                     Western District of New York
 In re      IFS Filing Systems LLC                                                                           Case No.
                                                                                   Debtor(s)                 Chapter     11




                                               VERIFICATION OF CREDITOR MATRIX


I, the Administrator of the Estate of Aida Corey - IFS Member of the corporation named as the debtor in this case, hereby verify that

the attached list of creditors is true and correct to the best of my knowledge.




 Date:       March 7, 2019                                              /s/ Jeffrey P. Markello, Esq.
                                                                        Jeffrey P. Markello, Esq./Administrator of the Estate of Aida
                                                                        Corey - IFS Member
                                                                        Signer/Title




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                     11225 Heather, LLC
                     9450 West Bryn Mawr
                     Suite 750
                     Des Plaines, IL 60018


                     Aaron Marketing Co.
                     158 N. Starflowers St.
                     Brea, CA 92821


                     Absorbtech Inc
                     Bin 88479
                     Milwaukee, WI 53288-0479


                     ACPO Ltd
                     PO Box 637686
                     Cincinnati, OH 45263-7686


                     Actega Wit, Inc.
                     26537 Network Place
                     Chicago, IL 60673-1265


                     Adm Corporation
                     P.O. Box 8500-41205
                     Philadelphia, PA 19178-8500


                     AmeriKen
                     618 N. Edgewood Ave.
                     Wood Dale, IL 60191


                     Avery Dennision / Fasson
                     PO Box 096989
                     Chicago, IL 60693


                     Blair Fire Protection
                     13111 W Silver Spring Dr.
                     Menomonee Falls, WI 53051


                     Braden Sutphin Ink Company
                     PO Box 932504
                     Cleveland, OH 44193


                     Brokerage and Transportation Sales
                     PO Box 1818
                     Arlington Heights, IL 60006


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                 c/o Mitchell - Handschuh Law Group
                 3390 Peachtree Road NE
                 Suite 520
                 Atlanta, GA 30326


                 Celeritas - Do Not Use
                 8045 Solutions Center
                 Chicago, IL 60677-8000


                 Chesterfield Custom Inc.
                 11 Bofat Hill Road
                 Williamsburg, MA 01096


                 Chicago Printing Equipment Inc.
                 325A Wegner Rd.
                 Lakemoor, IL 60051


                 CI Filing Systems, LLC
                 8 Vreeland Ave.
                 Totowa, NJ 07512


                 City of Milwaukee
                 Department of Neighborhood Services
                 841 N. Broadway, 10th Floor
                 Milwaukee, WI 53202


                 Coyote Logistics LLC
                 2545 W Diversey Ave
                 Suite 3
                 Chicago, IL 60647


                 DK Sales
                 N64 W23916 Main Street
                 PO Box 287
                 Sussex, WI 53089


                 Engineered Laminates & Coatings
                 404 North Howard St.
                 Akron, OH 44304


                 Estes
                 PO Box 25612
                 Richmond, VA 23260-5612




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                 Federal Express Corp.
                 PO Box 94515
                 Palatine, IL 60094-4515


                 Four Points by Sheraton
                 Milwaukee North
                 8900 N Kildeer Ct.
                 Brown Deer, WI 53209


                 FUJIFILM North America Corp.
                 Dept. CH10764
                 Account # 90048075
                 Palatine, IL 60055-0764


                 Grafix Plus Inc.
                 885 Prospect Dr.
                 Kewaskum, WI 53040


                 Grainger
                 Dept. 806436564
                 Palatine, IL 60038


                 Green Bay Packaging Inc.
                 Bin #53139
                 Milwaukee, WI 53288


                 International Paper Inc.
                 PO Box 644095
                 Pittsburgh, PA 15264-4095


                 Jalema, Inc.
                 2727 Paces Ferry Rd., Suite 750
                 Atlanta, GA 30339


                 James Imaging Systems
                 PO Box 330
                 Brookfield, WI 53008-0330


                 Kin Core Inc.
                 PO Box 485
                 Bloomsbury, NJ 08804


                 Kohner, Mann & Kailas, S.C.
                 4650 N. Port Washington Road
                 Milwaukee, WI 53212

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                 M&T Insurance Agency Inc.
                 286 Delaware Avenue
                 Buffalo, NY 14202-1885


                 Mark Andy Print Products
                 7312 Solutions Center
                 Chicago, IL 60677-7003


                 McLaughlin Paper Company Inc.
                 PO Box 147
                 West Springfield, MA 01090-0147


                 McMaster Carr
                 PO Box 7690
                 Chicago, IL 60680


                 Meaden Precision Machine
                 16 W. 210 83rd Street
                 Willowbrook, IL 60527


                 Montenegro Paper
                 25 E. Main St., Unit 205
                 Roselle, IL 60172


                 NAPA Auto Parts
                 7455 W Good Hope Rd.
                 Milwaukee, WI 53223


                 Olsen Kloet Gunderson & Conway
                 602 North 6th Street
                 Sheboygan, WI 53081


                 Paper Box & Specialty Co.
                 1505 Sibley Court
                 Sheboygan, WI 53081


                 Parts Connection Inc.
                 60-E Corbin Avenue
                 Bay Shore, NY 11706


                 Permclip Products Corporation
                 1130 Military Road
                 Buffalo, NY 14217-1844



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                 Precision Color Graphics, Ltd.
                 9640 S. Oakwood Park Dr.
                 Franklin, WI 53132


                 Press Color Inc.
                 1115 Tuckaway Lane
                 Menasha, WI 54952


                 Printron
                 PO Box 627
                 Neenah, WI 54957-0627


                 Printware
                 PO Box 2033
                 Ann Arbor, MI 48106-2033


                 Quality Edge Converting Ltd.
                 94 Durand Rd.
                 Winnipeg, MB R2J 3T2
                 Canada


                 R D Thompson Paper Products Co. Inc.
                 1 Madison St.
                 PO Box 88
                 Loudonville, OH 44842


                 Randstad Work Solutions
                 PO Box 2084
                 Carol Stream, IL 60132-2084


                 Reliable Door Systems Inc.
                 PO Box 278
                 Jackson, WI 53037-0278


                 Sandusky Packaging Corporation
                 2016 George Street
                 Sandusky, OH 44870


                 Scott-Precision
                 1555A Ocean Avenue
                 Bohemia, NY 11716


                 Seek Careers/Staffing Inc.
                 1160 Opportunity Drive
                 Grafton, WI 53024

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                 Sentry Insurance
                 PO Box 8031
                 Stevens Point, WI 54481


                 Software Solutions Group Inc.
                 90 Bryant Wood, South Suite 100
                 Buffalo, NY 14228


                 Southern Label Company
                 5624 Clifford Circle
                 Birmingham, AL 35210-4453


                 Standard Express
                 7720 N. 81st St.
                 Milwaukee, WI 53223


                 Staples Business Advantage
                 Dept. DET 2368
                 PO Box 83689
                 Chicago, IL 60696-3689


                 Stoffel Equipment Co. Inc.
                 PO Box 240082
                 Milwaukee, WI 53224


                 Suzanne F. Dunne, Esq.
                 230 South Dearborn St.
                 Suite 844
                 Chicago, IL 60604


                 Tabbies
                 PO Box 6185
                 Carol Stream, IL 60197-6185


                 TFP Data Systems
                 3451 Jupiter Ct.
                 Oxnard, CA 93031


                 Time Warner Cable
                 PO Box 70872
                 Charlotte, NC 28272-0872


                 Tru-Fit Steel Rule Cutting Dies of WI
                 N116 W18333 Morse Dr.
                 Germantown, WI 53022

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                 U.S. Department of Labor (OSHA)
                 310 W. Wisconsin Avenue
                 Room 1180
                 Milwaukee, WI 53203


                 U.S. Government Publishing Office
                 732 North Capitol Street NW
                 Washington, DC 20401


                 U.S. Health Works
                 PO Box 742352
                 Atlanta, GA 30374


                 Uline
                 PO Box 88741
                 Chicago, IL 60680-1741


                 United Parcel Service
                 Lockbox 577
                 Carol Stream, IL 60132-0577


                 UPS Freight
                 28013 Network Palce
                 Chicago, IL 60673-1280


                 UPS Supply Chain Solutions
                 28013 Network Place
                 Chicago, IL 60673-1280


                 W & D North America Inc.
                 28642 Network Place
                 Chicago, IL 60673-1286


                 Waste Management
                 PO Box 4648
                 Carol Stream, IL 60197-4648


                 We Energies
                 PO Box 90001
                 Milwaukee, WI 53290-0001


                 Wenco Tools Co.
                 4688 N 125th St.
                 Butler, WI 53007


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                 Western States Envelope
                 PO Box 205216
                 Dallas, TX 75320-5216


                 Wisconsin Department of Revenue
                 2135 Rimrock Road
                 Madison, WI 53713


                 Wisconsin Packaging Corp.
                 104 East Blackhawk Drive
                 Fort Atkinson, WI 53538-0028


                 Yazoo Mills Inc
                 305 Commerce St.
                 New Oxford, PA 17350


                 YRC (Yellow & Roadway)
                 PO Box 93151
                 Chicago, IL 60673-3151




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                                                               United States Bankruptcy Court
                                                                     Western District of New York
 In re      IFS Filing Systems LLC                                                                         Case No.
                                                                                   Debtor(s)               Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for IFS Filing Systems LLC in the above captioned action, certifies that the following
is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of
any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 March 7, 2019                                                        /s/ John A. Mueller
 Date                                                                 John A. Mueller
                                                                      Signature of Attorney or Litigant
                                                                      Counsel for IFS Filing Systems LLC
                                                                      Lippes Mathias Wexler Friedman LLP
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                                                                      Buffalo, NY 14202
                                                                      716-853-5100 Fax:716-853-5199
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